Case 22-05012-hlb Doc 68-1 Entered 09/26/23 16:23:39 Page lof5

EXHIBIT A

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Case 22-05012-hlb Doc 68-1 Entered 09/26/23 16:23:39 Page 2of5

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Attorney for: ALVIN BRESCIANI

IN THE FIRST JUDICIAL DISTRICT COURT OF THE STATE OF NEVADA
IN AND FOR STORY COUNTY

HERMAN MENEZES, LLC. a Nevada Limited

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Liability Company Case No. 21 OC 00001-1E

Dept. No, |
Plaintiff,

VS.

BRESCIAN HAY COMPANY. INC.. a Nevada
Corporation. and ALVIN A. BRESCIANI. an
Individual, and JUNGO RANCHES, LLLP, an
Idaho Limited Liability Limited Partnership, and
DOF individuals 1-10 inclusive, and ROE
corporation 1-10. inclusive,

OPPOSITION TO MOTION PLAINTIFF HERMEN MENDEZ, LLC’S SECOND
MOTION FOR ORDER TO SHOWCAUSE WHY DEFENDANTS BRESCIANI HAY
COMPANY, INC., AND ALVIN BRESCIANE SHOULD NOT BE SANCTIONED
AND/OR HELD IN CONTEMPT OF COURT FOR FALURE TO COMPLY WITH
COURT ORDERS
COMES NOW, Defendant, ALVIN RRESCLANI by and through his counsel on record,
Cliff J. Young, Esq., and hereby files her OPPOSITION TO MOTION PLAINTIFF HERMEN
MENDEZ, LLC’S SECOND MOTION FOR ORDER TO SHOWCAUSE WHY
DEFENDANTS BRESCIANI HAY COMPANY. INC... AND ALVIN BRESCIANI SHOULD

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Case 22-05012-hlb Doc 68-1 Entered 09/26/23 16:23:39 Page 3of5

NOT BE SANCTIONED AND/OR HELD IN CONTEMPT OF COURT FOR FALURE TO
COMPLY WITH COURT ORDERS. This opposition is based on the following points and
authorities, the record of the Court, and the pleadings on file herein.

POINTS AND AUTHORITIES

Defendant vehemently objects to the imposition of sanctions. When the Plaintiff filed a
Motion to Compel and/or for Sanctions for Refusal to Participate in the Framing of Discovery or
Make Initial Disclosures against the Defendant. The Courts held a hearing on August 2, 2021 and
issued its Order on August 4, 2021 ordering the Defendant to provide initial disclosures by
August 16, 2021. The Defendant has not demonstrated willful noncompliance. Defendant was
incarcerated on July 26, 2021 for violating probation, and possession of a stun gun, Defendant
had no aecess to gather evidence in this case or make payments because he is still incarcerated.
The defendant's incarceration is the reason he cannot respond to the Motion for Order to Show
Cause on September 27, 2021 from the Plaintiff. The Defendant's sentencing is not until
November 17. 2021. and he may be revoked from probation. It was not in bad faith that the
undersigned did not object or respond to the request for discovery. Mr. Busby was advised that
the Defendant didn’t have any records to produce. The undersigned consented to the purposed
discovery and was under the impression that is why the Plaintiff's counsel has submitted the
“Joint Case Conference Report”. Mr, Bresciani account has been closed and the bank is making
is not cooperating with undersigned to produce any requests. It was the undersigned intentions to
show a stopped payment on the check to Taylor Farm and the bank account was closed so he had
difficulty obtaining documents. The undersigned has been cooperating with Plaintiff's counsel.
The Defendant did not have and disclosures to produce and has not ignored any requests.

CONCLUSION

The undersigned has been cooperative with Plaintiff's counsel regarding requests of
documents, there just is not anything to produce.
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Page 2

Case 22-05012-hlb Doc 68-1 Entered 09/26/23 16:23:39 Page 4of5

AFFIRMATION PURSUANT TO NRS 239B.030

The undersigned herby affirms that this document does not contain the social security

number of any person.

DATED this $ dayof__ /7éwe ben 2021,

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Cliff J. Young, Esq.~
Attorney for ALVIN BRESCIANI

Page 3

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Case 22-05012-hlb Doc 68-1 Entered 09/26/23 16:23:39 Page5of5

CERTIFICATE OF SERVICE

Pursuant to NRCP 5(b). I certify that | am an employee of the Law Office of Cliff Young
and on this date I caused the foregoing document to be delivered in the following manner:

_X__ depositing a true copy thereof in sealed envelope, first-class postage prepaid.

with the United States Postal Service at Reno, Nevada;

personal delivery;

electronic mailing:

facsimile to the number(s) listed:

Federal Express or other overnight delivery service;

electronic service via Washoe County District Court E-Flex system;

addressed as follows:
Luke A. Busby, Esq.
316 California Ave.
Reno NV 89509,

DATED this 5” day of Novela

di ]
Assistant cone HAY

2021.

Page 4

